Case 2:04-CV-O24Ol-.]DB-STA Document 16 Filed 06/20/05 Page 1 of 2 Page|D 22

 

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FoR THE wESTERN DISTRICT oF TENNESSEE 05 JUN go AH
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MARY L. LABARRE, W'b§Ré<;= §§ §§:§1?
» " is
Plainriff,
v. civil Action No. 04-2401-B An

MEMPHIS LIGHT, GAS
& WATER DIVISION,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION FOR LEAVE TO REPLY TO
PLAINTIFF’S RESPONSE TO DEFENDANT’S
MOTION TO DISMISS PUNITIVE DAMAGES CLAIM

 

On Motion of Defendant, Memphis Light, Gas & Water Division, and for good cause

shown,
IT IS HEREBY ORDERED AS FOLLOWS:

Defendant’ s Motion for Leave to Reply to Plaintiff' s Response to Defendant’ s Motion

to Dismiss Punitive Damages Claim is granted.

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A IEL J. BR_EEN,

ED STTTES DISTRICT JUDGE
DATE; l') , w ° ‘

This document entered on the dock&t sheet in compliance

with Ru|e 58 and/or 79{a) FRCP on `gg) 'Q£)

 

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This notice confirms a copy of the document docketed as number 16 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

